                      Case 1:21-mj-00436-GMH Document 1 Filed 05/24/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                  Sean Michael McHugh
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                      in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
       18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
       18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
       18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,
       40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds,
       40 U.S.C. § 5104(e)(2)(F) - Physical Violence on Capitol Grounds,
       18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
       18 U.S.C. § 111(a)(1) and (b) - Assault Law Enforcement Officer with a Deadly or Dangerous Weapon,
       18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress.

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Ashley Walker, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                             Digitally signed
                                                                                          by G. Michael
Date:                                                                                     Harvey
              05/24/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
